     Case 1:97-cr-00064-DCB-JCG          Document 152       Filed 08/05/15      Page 1 of 1
                IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA                                                            Plaintiff

V.                                                   Court No. 1:97-CR-64-DCB-JCG-4

Lien Kim Nguyen                                                                     Defendant

And

Hancock Bank                                                                        Garnishee

                              ORDER QUASHING GARNISHMENT

       This cause came on for consideration on a motion (Dkt. #149) of the United States

Attorney to quash the Writ of Garnishment issued in this action on the grounds that the

Garnishee, Hancock Bank, does not have any accounts in the name of Defendant, Lien Kim

Nguyen.

          IT IS, THEREFORE, ORDERED AND ADJUDGED, that the Writ of Garnishment

 issued in this action on July 8, 2015, (Dkt. # 148) be and is hereby quashed, and the garnishee,

 Hancock Bank, is hereby dismissed.

          ORDERED AND ADJUDGED this 5th day of August                     , 2015.


                                                 s/ David Bramlette
                                              HONORABLE DAVID C. BRAMLETTE, III
                                              UNITED STATES DISTRICT JUDGE
